Case 3:11-cr-00250-M        Document 1466         Filed 05/31/13      Page 1 of 1      PageID 5965




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 UNITED STATES OF AMERICA                             )
                                                      )
 VS.                                                  )            CASE NO.:3:11-CR-250-M (39)
                                                      )
 EDGAR GUTIERREZ HOYOS,                               )
                Defendant.                            )

                  ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE
                           CONCERNING PLEA OF GUILTY


        After reviewing all relevant matters of record, including the Notice Regarding Entry of a

 Plea of Guilty, the consent of the defendant, and the Report and Recommendation Concerning

 Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed

 within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District

 Judge is of the opinion that the Report and Recommendation of the Magistrate Judge Concerning

 Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts

 the plea of guilty, and also accepts the plea agreement, and the Defendant is hereby adjudged

 guilty. Sentence will be imposed in accordance with the Court’s scheduling order.

        SIGNED this 31st day of May, 2013.



                                               _________________________________
                                               BARBARA M. G. LYNN
                                               UNITED STATES DISTRICT JUDGE
                                               NORTHERN DISTRICT OF TEXAS
